                           Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 1 of 20



                      1   FORD & HARRISON LLP
                          David L. Cheng, Bar No. 240926
                      2   dcheng@fordharrison.com
                          Jennifer S. McGeorge, Bar No. 221679
                      3   jmcgeorge@fordharrison.com
                          350 South Grand Avenue, Suite 2300
                      4   Los Angeles, CA 90071
                          Telephone: 213-237-2400
                      5   Facsimile: 213-237-2401
                      6   Attorneys for Specially Appearing Defendant
                          LINCARE HOLDINGS INC.
                      7

                      8                        UNITED STATES DISTRICT COURT
                      9                      NORTHERN DISTRICT OF CALIFORNIA
                     10

                     11   PAZ CARINO,                            Case No.
                     12                  Plaintiff,              DECLARATION OF JENNIFER S.
                                                                 MCGEORGE IN SUPPORT OF
                     13   v.                                     NOTICE OF REMOVAL BY
                                                                 SPECIALLY APPEARING
                     14   LINCARE HOLDINGS INC., a               DEFENDANT LINCARE HOLDINGS
                          Delaware corporation; LINCARE          INC. PURSUANT TO 28 U.S.C. §§
                     15   INC., a Delaware corporation; and      1332, 1441 AND 1446
                          DOES 1 through 30, inclusive,
                     16
                                         Defendants.
                     17                                          Action Filed: 11/05/21
                                                                 Date of Removal: 01/13/22
                     18

                     19
                                I, Jennifer S. McGeorge, declare as follows:
                     20
                                1.    I am an attorney at law licensed to practice in the State of California
                     21
                          and Counsel at the law firm of Ford & Harrison, LLP, attorneys of record for
                     22
                          Specially Appearing Defendant Lincare Holdings Inc. (“Defendant”). I am
                     23
                          providing this declaration in support of Defendant’s Notice of Removal of Action. I
                     24
                          have personal knowledge of each of the matters set forth below and, if called as a
                     25
                          witness could and would testify competently to each of them under oath.
                     26
                                2.    On November 5, 2021, Plaintiff Paz Carino (“Plaintiff”) filed a
                     27
                          complaint against Defendants Lincare Holdings Inc. and Lincare Inc., entitled Paz
                     28
F ORD & H ARRISON
                                                                             DECLARATION OF JENNIFER S. MCGEORGE IN
       LLP                                                                SUPPORT OF NOTICE OF REMOVAL BY SPECIALLY
 ATTO RNEY S AT LAW                                                       APPEARING DEFENDANT LINCARE HOLDINGS INC.
    LOS A NG EL ES                                                          PURSUANT TO 28 U.S.C. §1332, 1441 AND 1446
                           Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 2 of 20



                      1   Carino, an individual, Plaintiff, vs. Lincare Holdings Inc., a Delaware corporation;
                      2   Lincare Inc., a Delaware corporation; and Does 1 through 30; inclusive,
                      3   Defendants in the Superior Court of California, for the County of Santa Clara, Case
                      4   No. 21CV391147 (“Complaint”).
                      5         3.     On December 14, 2021, Plaintiff served Defendant Lincare Holdings
                      6   Inc. with a copy of a Summons and the Complaint. True and correct copies of the
                      7   Notice of Service of Process to Defendant Lincare Holdings Inc., the Summons,
                      8   and the Complaint, are attached hereto as Exhibit A.
                      9         4.     A true and correct copy of the Civil Case Cover sheet filed in the Santa
                     10   Clara County Superior Court on November 5, 2021, is attached hereto as Exhibit
                     11   B.
                     12         5.     Pursuant to 28 U.S.C. § 1446(d), the foregoing exhibits constitute all
                     13   process and pleadings served on, received by Defendant Lincare holdings Inc., or
                     14   filed in this action. To Defendant’s knowledge, no further process, pleadings, or
                     15   orders related to this case have been filed in Superior Court of California, Santa
                     16   Clara County or served by any party.
                     17

                     18         I declare under penalty of perjury under the laws of the United States of
                     19   America and the State of California that the foregoing is true and correct.
                     20         Executed on the 13th day of January, 2022, at Los Angeles, California.
                     21
                                                                         /s/ Jennifer S. McGeorge
                     22
                                                                 JENNIFER S. MCGEORGE
                     23

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                     25

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                                                                               DECLARATION OF JENNIFER S. MCGEORGE IN
F ORD & H ARRISON
                                                                            SUPPORT OF NOTICE OF REMOVAL BY SPECIALLY
       LLP                                                         -2-      APPEARING DEFENDANT LINCARE HOLDINGS INC.
 ATTO RNEY S AT LAW
    LOS A NG EL ES                                                            PURSUANT TO 28 U.S.C. §1332, 1441 AND 1446
                           Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 3 of 20



                      1                                    PROOF OF SERVICE
                      2         I, Esperansa Reinold, declare:
                      3         I am a citizen of the United States and employed in Los Angeles County,
                          California. I am over the age of eighteen years and not a party to the within-entitled
                      4   action. My business address is 350 South Grand Avenue, Suite 2300, Los Angeles,
                          California 90071. On January 13, 2022, I served a copy of the within document(s):
                      5
                                DECLARATION OF JENNIFER S. MCGEORGE IN SUPPORT
                      6          OF NOTICE OF REMOVAL BY SPECIALLY APPEARING
                                DEFENDANT LINCARE HOLDINGS INC. PURSUANT TO 28
                      7                     U.S.C. §§ 1332, 1441 AND 1446
                      8                ELECTRONICALLY: I caused a true and correct copy thereof to be
                                      electronically filed using the Court's Electronic Court Filing ("ECF")
                      9                System and service was completed by electronic means by transmittal of
                                       a Notice of Electronic Filing on the registered participants of the ECF
                     10                System. I served those parties who are not registered participants of the
                                       ECF System as indicated below.
                     11
                                      by placing the document(s) listed above in a sealed envelope with
                     12                postage thereon fully prepaid, in the United States mail at Los Angeles,
                                       California addressed as set forth below. I am readily familiar with the
                     13                firm's practice of collection and processing correspondence for mailing.
                                       Under that practice it would be deposited with the U.S. Postal Service
                     14                on that same day with postage thereon fully prepaid in the ordinary
                                       course of business. I am aware that on motion of the party served,
                     15                service is presumed invalid if postal cancellation date or postage meter
                                       date is more than one day after date of deposit for mailing in affidavit.
                     16

                     17
                                 Edward Antonino, Esq.
                                 LAW OFFICE OF EDWARD
                     18          ANTONINO
                     19
                                 15760 Ventura Blvd., Suite 700
                                 Encino, CA 91436-3016
                     20          Phone: (818) 995-9477
                     21          Email: ea@ca-workers-rights.com

                     22          Attorneys for Plaintiff
                                 Paz Carino
                     23
                               I declare under penalty of perjury under the laws of the United States of
                     24   America that the above is true and correct.
                     25         Executed on January 13, 2022, at Los Angeles, California.
                     26

                     27
                     28                                                       Esperansa Reinold
F ORD & H ARRISON
                                                                              DECLARATION OF JENNIFER S. MCGEORGE IN
       LLP                                                                 SUPPORT OF NOTICE OF REMOVAL BY SPECIALLY
 ATTO RNEY S AT LAW                                                        APPEARING DEFENDANT LINCARE HOLDINGS INC.
    LOS A NG EL ES                                                           PURSUANT TO 28 U.S.C. §1332, 1441 AND 1446
Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 4 of 20




  EXHIBIT A
                    Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 5 of 20




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 24208373
Notice of Service of Process                                                                            Date Processed: 12/16/2021

Primary Contact:           Paul Tripp
                           Lincare Holdings Inc.
                           19387 US Highway 19 N
                           Clearwater, FL 33764-3102

Entity:                                       Lincare Holdings Inc.
                                              Entity ID Number 1579422
Entity Served:                                Lincare Holdings Inc.
Title of Action:                              Paz Carino vs. Lincare Holdings Inc
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Santa Clara County Superior Court, CA
Case/Reference No:                            21 CV 391147
Jurisdiction Served:                          Delaware
Date Served on CSC:                           12/14/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Law Office of Edward Antonino
                                              818-995-9477

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                           Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 6 of 20


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                                      FF.:                                                                 °t•~~~~         '/ 21 CV391147
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 LAW OFFICE OF EDWARD ANTONINO,                                                                                                                           _
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                           Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 7 of 20

     SHORT TITLE:                                                                                                                       SUM-200 A
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     Carino v. Lincare Holdings Inc., et al:
                                                                                                                    21CV391147

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   and
  DOES 1 through 30; inclusive,




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                   Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 8 of 20

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       ~           Attgrney forPlaintiff:PAZ CARINO.
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                      Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 9 of 20



           i:                                                GENERAL ALLEGATIONS
         2                     1:.:     P1alntiff PAZ CARINO, an indiuidual, complains
                                                                                                 of;Defendants.I;INCARE
         3            HOLDINGS INC,:a.Delaware,.corporation;:s.nd LINCAR
                                                                                         E INC ,a,Delaware=corporation
         4            (collectively, "Deferidant'~;,;as follows;`
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         6            Civi1 Procedure '§ 395:-Defendants empl'oyed             _
                                                              Plaint~f,in Santa;Clara County; Calzfornia.:Plaintiff      . ...

       ~ attall rele,vant ti"rrxes was a resident of;Santa
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     10` otherwise, of Defendants sued herein as Does l through,3Q iricl
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              Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 10 of 20



      1        each of tlie Defendants:in all respec„ts,.acted',as the
                                                                          employer arid/or: joint=emp.loyer, of Plaint'iff.
      2                                                    FACTUA'L BACKGROUND
     3                  7-..        Plamtiff worked,for;Defendant.as,a Shipping`Cl.
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                                    Tii or about;Novemlier 2020; Plaintiff tested:itega                                ,
                                                                                          tive for the CbUID 1,9 viTus.
     6.                 9.         .On-or about.Decernber. 22, 202U; Plaintiff agai
                                                                                        n tested for COVID-19:
     7;                 1Q.        Qn or':ab.out December 23, 202U;,Plauitiff discoye                             .;
                                                                                           red thatahe tested,positiv e,for
     g        COVID-19 and ;immediately=informed her 'superio
                                                              r;Ka            nam Hoapilr;>of her:positive ;test3result.
                                                   ,
     g;                 jl-1;~:    :On or about.December 28;:, 2020, Plaintiff's eriip
                                                                              ..
                                                                                         loy,ment uyith,D;efendarii was,
,10           ~ongfully terminated:due to her disability / med
                                                                        ical;conditiorr andlor her;:percei~ved disability
 11           rnedical condition.                                                                                                  ,


 12                   `1=2; On or;about Apn122, 202 i,Plaintifps :counsel' requested,a:;
                                                                                                copy ,of Plairitiffs
              p`ersoniiel file;and payroll "records. However, as ofrtl
                                                                  -
                                                                       us::date, no records of the same have;been,
 1°4;         Produced.by'Defend'ant..
                                             E3HAUSTION OF ADIVIINISTRATIVE.R
         ;                                                                                   EMEDIES
 16- - .               1=3.        On .o,r`;about;Apn122, 202,1;; Plaintiff e~iausted lier          .
                                                                                             administrative remedie. s-
1:~           concerning her:fair'employment claims by=submittul
                                                                           g a Complaint online wrth the Departmerit of
18           Fair Employinent and Housmg ("DFET~''j;_and;recei                     .;
                                                                          ved'~an iriimedi'ate nght;to~,sue not'iee~on that
 19 11. "saine date:,
,2p                                                        FIRST-CAUSE,:OF;ACTION;.
                                              -
2,i,                               DISABII;ITY / MEDICAL CONDITIOI~ DISCRI
                                                                                              IVIINATIOlY.
22,                                           ;(Against All>Defen'dant's,and DOES;1-30, inclusiv
                                                                                                     e)
23.                   1'_4.       As ,a separate. and;distmc~,cause:of action, Plaintif
                                                                                          f complairis, and?:r'e'alleges all the
24           allegations; contained in;this complarnt;;and,iricorpor
                                                                     ates      them by'reference.~i~}to, tlus eause of
Z5 ; ;actiort=`as though fultyaet farth lierein, exceptingthose:'allegations;
                                                                              wluch ,are incoiisistent v~nth;tYii
26 ` caus  e: of action.,
27                    15,.        At;all'times riientioned m'thisComplauit,;the Califorr
                                        ..   _,~
                                                                                              iia:FairEmploymerit and,
                  ,
28           Housmg, Act :;("FEHA ), Government Code §§: '1294U";(
                                                       .
                                                                                 .- .
                                                                   aj, et'seq , was m;`full force and :effect and`
                 Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 11 of 20


                              .

      ; ~vas bindirig on Defendarits,, and "each .of,;them, and prohibited Defendants:from .disc
                                                                        ,.
                                                                                                   ,

                                 ,.                                                                   riminating;
     2 agairist:Plaintiff"on tlie,basis of Pl;airitiff's        ;                                                -
                                                         disability' /`"medical condition and%or perceive
                                                                                                          d;
     3 disability/ niedical condition.

     .4:.                 1:6.,         Defen"d'ants°knew or should' have knowri of
                                                                                       Plai
                                                                                       .    ritiff s.,disability /;medical
     5            condition andlor,perceived disability [~inedicalr;c
                                                                            ondition, as~set forth abave as.Plaintiff informe
                                                                                                                                  d:
     g.           Defendaiit:of the sanze.,
     7"                   17.          Plaiiitiff could have,performed the,;essenti
                                                                                     al°;functions:ofPlaintt~s':position witli;
     g.                                                  dation.
                                       ,
     g: ,                 `18.         By.engaging;in the;;abo~e-referenced≤.acts and
                                                                                           :omissions, includirig terminat.ing.
 1 U' ' PIamtiffs employment due to Plainhff's disability f:in"e'di
                                                                                      cal ,eondition and/or,pereeived disabihty
                 ~'medical condition;.Defendantssubjected~Plain
                                                                           tiffto~adverse;eniploynient actions and
 ~12~ ~          d'i"seruniriated' against Plai ntiff.:because of;Plain
                                           :                              tiff's disability %:medical condition arid/or
            ;,                                           ,
 13              pelceived disab"ility % medical,condition in:viola
                                                                          tion of Government`Code §§ T2940, et seq.
:14                                   As apToxiniate result of, Deferidants' wro
                                  -                                                                           erse empIoyment
 1,5;            actions;~Plairi"tiff has sastained, aitd~contiriues to
                                                                           sustaui;ecoriomic damagesm lost.earn,iiigs and"
                                                                                                                                  .
 a±,6                                                   _
                 ~other employinent :benefits iri ari atno unt"accordin     g to proof."
1q                       20
                        ;As a.proxu' riate resu., .lt,of D.ef
                                                           _ endants' wrongful'c
                                                                               . . : onduet, and.adverse employment
                                                                                                            „
 l:g actions, Plaintiff h.as',sustairied, and::continu
                                                             es toaustamtinon-ec,oriomic,damages; includirigau
                                                                                                                    t not
 1•g linuted to emotional.distress, anxiety,..dep
                                                           ression, tension, l'oss of sleep arid humiliation:
                              .,.            ,
                  2~1: Plaintiff has~austame        d general`arid sp:ecial :damages"within~the jurisdict
                                                                                                           ional limits: .
.21, J1. of this:~Court
                         ...,
22; "                   ;2~:.:        Plauitiff is entttledao::attorneys' fees pursuarit ao
                                                                                              Governmerit",Code:§§.12653 and
23               k2965 and California,,Code of Civi1 Procedure
                                                               :§'1-021.5'.,
'24 ,                                                        SECOND CAUSE "OF ACTION
25                               FAILURE TO";PREVEN'~" DISCRIMINATION
                                                                                           : AND RETALIATION`
26                                           (A"gainst All'-Defendants and, DOES:1-30, in,clusiy
                                                                                                        eJ"
27 1                   "23.           As a separate and•distuict ;cause:of action, Plai
                                                                                           ntiffcornplairis,and realleges a11 the
                                                 . „..
28           allegation
                    '   s                    ,
                                contamed 1n tlu's Complasnt;.and .irieorporates
                                                                                   them`by reference into .tlus ;cause:,of

                                                                            FOR=DAMA'GES'
                  Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 12 of 20



       1            action.as though fiilly set forth:herein, .exceptin
                                                                                g<those:dllegations wliich,are inconsistent w_tth;thi
                                                                                                                                     s;
       2 ; ,ca.u.se`:ofaation:: °
       3                      ':24.     At all~'tiines mentioned in tlus Complaint„the Cah
                                                                                                   fornia Fa~r„Employment:and
       4           Housing;Act,'("FEHA"),,Goverriment Code §§ 1294
                                                                        0,,,et;seq., was in full force and:effect
                                                                                                                  and was;
       5           liinding on Defendants, and;each ofahem These sect
                                                                         ions reguired Deferidarits.to;tak,e all`
   ,6:             reasonable;steps.to'maintain a workpiaee',envirorim
                                                                       ent free-from unlawful discruninatio`n::and:
       7:          retaliati;on..
            ,                 .
       g;:;                   25::     Defend              ..
                                           .. ants, and eacli'of:them~ Fenibarked on~a
                                                                                       cam         paign,ofdiscnmination.and_:
                               _.-
       9. 'retaliation:against Plai ntiff,liecause;Plaintiff had                'a disability /'medical condition andbecause tliey,
                                        ,                          ,
 1:U ,' perceived: Plainttff to;have a,;disab~Iity /`;niedical conditto.,
                                                                          n Defendants' failure, to take all:,
                    ,.
 ~1~~1'~ ~ rea"sonabl'e stepshto :.
                                  ;pre~ent~;the:above described diseririmination, and xeta
                                                                                           liatiori:suffered'~by
 12 Plamtiff was'a substaritia.l factor in:causirig'd"                                  ,.
                                                             amage and ury to.Plaintiff as.alleged herein.
 . . '.                ~                           r.
 13'                 26       By engagingan the- abo~e-referenced, acts and. :omr.ssio
                                                                                        ns, ;Defendants failed to take
 14` alI reasonable'steps to:,maintam a workplace enviroriment:free
                                                                                from:.:unlawfi~l diserimination„ and` :
 1~5,      reta liati on in ~iolation of Go~einment Code ~§§ 12940, et~se
                                                          .   ~             q,.
                                                                            ,
 1.6                         27,                                        A           _,
                                      As.a proximate result.of Deferidants' wrqngfultcon                                            i
                                                                                         d"uc         t`and adverse empl'oyment
 1.~             achons;:Plaiiitiffhassustatned,and'contmues,to sust
                                                                                   aiii;economic damages;iri eainings and other,
 ;1_g . ` :employinerit benefts,irr an amount;according to~p
                                                                                 roof
                                                                   ,.
 1,9 ,        28:, As a.proxiinate result of De.~endants' wrongful.cond`uct,
                                                                                   and-adverse employrrieiit`
 20 actions, Plairitifffias sustained, and,continue
                                                    s;to:sustain:non-economic damages,;iricluding_,but-
                                                                                                          not
'2:1 limtted'to, emotionai distress        y, depression, tension, Tos's of sleep,.and`humiliation.
 22           29:. P14unttffhas?sustained general;and sp'ecial
                                                                  damages within:tlieJurisdiehonalaimits
.2,31. of_tf
       ~ iis ,Court:
24 :                         30:.     Plaintiff is;entitle:d to -attorneys'' fees pursuaiit to'G
                 ....   ..
                                                                                                 overnment Code §§ 12653 ,and
                                                          .
25 ' 1~2965, and California, Code of Civil Procedure
2,6




'28:            ///'
                        Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 13 of 20


                                                                                                                        ,
    .. _ ._    1,.                                             .
                                                                                 ..
                                                                   THIRD;CAUSE-OF,ACTION,
                                                                                      ~ ~'
               2                       W.,RONG''FUL TERMINATION IN'VIOI;
                                                                         ATI                     ON OF, PUBLICpP,OLICY
               3                                    (AgainstfAll:Defendants' and`:DOES 1'30;,inclusrv
                                 „ v       .
                                                                                                                 e);
                                                                        ~
              4                  ~        As a separate and distmct cause of achon; Plaintiff                                    ...
                                                                                                     complains and, realleges.all of' : .
                                          .. _
               5         the allegatioris;co      ..
                                               ntain         ;
                                                     ed in tlus Coinplaint;; and incorporates'them"by
                            ;
                                                                                                        reference,:irito this causeof ;
               6:        action as _though"fully'set .fo,rth.herein,, exceptin
                                                                                g those. allegations which are inconsistentwith
                                                                                                                                    .
              7          cause of;actioii:.
              g                  32,      At ali 'times lierein,:rnentioned, the publtc pohc
                                                                                                 y<_of the,State,of California, as
              9         codified, expressed and:maridated::in Californ
                                                                              ia,Government.Code ~§ Yl`2940, was'to proliibit
          10            'employers from harassing, discrimmatirig and
                                                                   ,.
                                                                               retaliating against any indiv'idual based°tona;
          11            perceivedrand/%r'actual Aisabilft7,winedical cond
                                                                                      ihon, and-liased:upon:the exercise ofrights~
          12            under,;tliat section. This public policy.oftlie Stafe
                                                                                  ~bf Califor"nia is.desigriedto protect;all".
          13            emI?lo                                           ,
                                 e and to promote tlie welfare and well-be'i
                             ., y,es                                         ng           of the' commuiuty at' large: Accordingly,
          1:4: ` the actions of,Defendants,rand each:'of'them, m discnminatmg,;re
                          .     .,
                                                                                                     taliating1agamsf;'and termmating °,
                                                      ,
          15''          Plauitiff..on the"grourids stated abave WaS, wrongfi~     ,        ;             ,..
                                                                              l arid,      in° contravention_arid m violatitin<of the
          16            express pubhc:policy`of tlie State of California,ao
                                                                                      ~?vit, the;policyset forth in California.
                        Government Code §'`1`2940, et seq,,, and the.
                                                                            iaws,and`,regulations :promulgated tltereunder;=in"
                        violation of the Court's rulirig_urTameny v~4
                                                                              tlanticRi'chfield<Co,;27 Cal °3.d 167, arid in violatio
                                                                                                                                          n
         19,            of L;abor.Code §§ 631:1 and:6402.
                    ,
                                                -         ,,
         '20                   "33._                                   ,,.
                                         ~Here, PIamtiffs employment:w~th`     ,
                                                                           Defendants;=w                         .                             ,
                    "
                                                                                                    as;:wrongfully termmated due;to
          .                                ~
         2;1            Plaintiff's diaability/;medical condxtion~,and/or;
                                                                                perce_iveddisability'%"medical condition:
         22`                   34..      These pu.b,lic, pohcies mure to tlie beneft of tlie,pub
                                                                                                       lic;:not, just"tlie private mterests;
         ;23            of the:.employer,and employeez because a11 1ndiv
                                                                  4      iduals ~within;tlte. State are afforded            these rights.. `
         24                    3'5:      Deferidants' "wrongfui, discruni;.,natory, andretali, ator
                                                                                          y-terminatiomofPlaintiff'
        25' `     violated t}ie aforementioned`fundamental pnnciples of publ
                                                                                 ic;pohc.y;an that.fheie'is a;substantial
        26. ; and fundamerital. policy agairi'st disabil'ity.discririmination.in emp
                                                                                      loyment:as' delineated ~in:tlie
        2.~ ; FEHA, and=the,laws aiid regulations prom
                                                              ulgated thereunder.
        . ... , .                              .
       ;2$                        As a;proxim}ate result ofI)eferidants' wrongfu.l'con _               .,
~                                                                                       duct, Plainhff;has °sustauied;,
            Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 14 of 20



      1,     arid coriti`nues to sustaai~ econbmic damages in.,lost
                                                                       ear"nuigs and o't,her erriploynient°benefits iri;an-
             airiount.accordirig,"to;;proof
      3               37,    As a proximate result of:Defendants' wrongfuT:conduct
                                                                                           ; and adverse:employment; ,
      "4     actions, Plamhff has.,susta~ied, aiid conhnues.to<susta
                                                                        in, non=economic damages; includirig but°not
                             ,      ..
      5_.    fimrted to emotional distress,~'anxiety, depress'ion,, tens               ~.
                                                                         ion, loss of sle"ep .and: humiiiation.
      6'              3.8. Plairitiff has sustained general and special dam
                                                                                 ages=within:the ~urisdictioiial limits ;I
      7      of'ilus' Courf:
      g~              39      The,acts and,conduct o'f Defendarits, and' each.of them
                                                                                               ; constituted,a"mahce;~`
  9"oppression";and/oi "fraud".(asaho             ..
                                                       se;.terms are.d.efinedan California; Civil ;Code;§r 3294  , . .,
                                                                                                                     (c)), in.
 1p„ that these acts were iritended::by Defendants to caus
                                                                         e,injury to'Plaintiff and%or "c"`oristituted'
   '
.Z T     desp icab
                 . ... le
                        .. conduct;;carried _on by ,the:Defendants:with
                                                                            ~n,llful.;and ooiiscious disregard,;of the.
          ,
12 nghts,of Plairitiff Tlie acts :of the l~efendants, and each~:of             ...
                                                                                   them, were dorie:fraudulently;
13` maliciously and oppressively- and with the advance kriowled'ge; cons
                                                                                              cious :disregard;.
14 authorization; ratification or act qf.,apptession, within °flie,~meanin9
                                                                                            of Civi1~Code §` 3294 on tlie:
15: ;part:of Defendants' officers, ;dir.ecfors, or managing agents of the-
                                                                                          eorporation , The<actions ,and
                           .             ,             .~
1;6  ;.`co  ndu ct of,the;,Defendants,- and 'each of;them,;were;intended..to
                                                _    ~
                                                                                       -cause~-injury to Pl'ainhff and .
T7 , constituted deceit and;;coricealment',of;material'facts known to Defendan
                                                                                                  fs with'the mter~tlon:of'
18 : =the Defendants to depnve=Plainti.ff.:of property
                                                                   and legal rights, ~ustifying an award,of;exempla:iy
19'     and puriitive damages m,an,amourit aecording;:to, proof
                                                               _            :
20                40. Plauitiff is entitled:to attorney.s' fees pursuant>to
                                                                                        Government Cod'e §§ 12653 and.
21. '       12965::


22                                               g,OURTH CAUSE'OE ACTION.
,23                                             UNFAIR BUSINESS PRACTTCES:
                                 ...      ...
:24                         PURS,UAIVT TO BUSINESS:& PROFESSIONS
                                                                                        CODE'§ 1720.0
25 ;                                   ::(Against A1f-pefendarit's and DOES;;1-34,>iriclusive)
26: `,        41. As a separate and ~di'"stinct cause:.of;aetion, Prlai                             ,.
                                                                          ntiff~.coniplains;aiid'realleg es all;of'
27-11 the allegati"ons:contained in;this Complaint, andincorporates'them
                                                                                by reference. into thiskcause':.of-
Z:g ; action;as though fully set:forEh.herein, exce                               ,..
                                                    pfirig .those allegatioris' wluc  h are inconsistent with ,tlus
              Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 15 of 20



     1,        cause;of:action.
     2                   42~:.       Plaintiffbrings~this.claun;
                                                              ~.. p ursuantto BuSmess and:Piofes        sions Cod'e ~~§ 1,720Q,
     3         seq., which proliibit .unlawfiil and :unfair business pracfiices.
                          _.                 -
  ,4-                    43..        Plaant'iff is a:person;y~nthin;the,meariing• of Business &~:Professi
                                                                                                             "ons Cod•e;§;17204;.
  .             ...:     . .,
  ,5                                                   .
               .and erefore has stand~ng to bnng th~s dause≤;of achon for inlun
                                                             :   _        . .
                                                                                ctive;. ;relie                      .
                                                                                                         f,-restrtutio n,°and~otlier
     6:        appropriate equi;table rehef`
                                        .
   7'                    44.     Defendants' c„onduct ,has b:een and coritinues ta;be unfatr,                    .
          ,                                                                                        ..   unlawful,;and 1%armfi~l'to:
                                 t            ..           .
   g { Piamhff'and,;the ;general public Plain                                  •
                                                   tift~thefefore seeks to•erifor ce important nghts affecting tlie.
     ; . ,• .                                                       ,
   9 pubhc iriterest:withui the.meanmgrof Code of'Civil Proc
                                                                       edure § 1021,:5:
                                                 _      _,
                 45     Gove
                         _     rnrnent Code ~a§;§ 1294,0 and 12653 ~articulate the. furidamerit
                                                                                                al.Pubhc   ; olicY gf,; .
                                                                                                      . . .1?
 l l ~e.Stafe of?Californra;to pro,tect';employees from+beu~g discririiinated again
                                                                                            st and retaliated
 ;12     agam st due to-their disability,: / medical condition.
  "
 13:                     46,,    Defeitdants'`,conduct•was,aherefore,<unfair and;unlaS?vful i,n;vi
                                                                                       .,..               olatioh of;§~ 17200',e"t `
              seq .oftlie Business &'Professions Code.Further~ by;engagin
 i4.:                                    ..,.                                         g=in.the.eonduct rvherein alleged;
                                                 „
 lS.          D;efendants ettlier„knew or' m the:eacercise;o,f, reasonable:care                         ..
                                                                               ;sliould have kriown tilat the`,conduct
              was-unlaw
                     _    ful; A:s such rt is a violation ofr§§:1`7200,et se ofthe'Busi
                                                                            q,            ness and:P
                                                                                                 _     rofessions, Code.••
17                     4T.,    As a proxnnate result of tbe;aforementioned vnolations, P,lain
                                                                                                 tiff has been; damaged`
 l,g          in an airiount according to.praof at-time of trial, but in,an amo.u
                                                                                   nt:in excess of the jurisdichonah
;I9'          ~minimum•ofthi's, Conit:
2p,                     48,      t7nless restrained'`by tliis Court; Defendants will confinue
                                                                                                    :to; engage ui tlie.
21,           urilawful condtiict`.as alleged above Pursuant.to `Business ;&
                                                                                    Professions Code; this Court≥should;.
22            riiake sueh orders orx~udgriienfs as inay be:necess.ary'to,preve
                                                                                     ntth.e`u`se or einployment, by
23            Defendants, the~r agents or .employees, of'any unlawful;practic                                ,
                                                                                       e prohibited'.:by the:•Business;&
24            Profess'ionsyCode, and7or mcluding but not limited to enjoining.
                                                                               Defe           ridants• froin retaliating
                                                                     ,
              agamst and/or termuiatmg ,any employee. who =inforcns:the empl
25                                                                                       oyer .of lu,`s/her disability % inedical `
"26           e'ondifio..n:.
27                      4;9;     Pui"s.`uant to -Business & Professioris Code
                                                                 .               §§ 1720
                                                                                    .    0 ,et'seq., Plaintiffas entitled to
2g            recover'attorrieys' fees and;eosts:,
                     Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 16 of 20



             1                                                    FIFTH"CAUSK OF AOTION
                                          ,                                                                                                 -
             2                      FAILURE TO PROVIDE P~ERSOI~TNEL ~FILE AND
                                                                                                     PAYROLL RECORD5.
            3                                         {Against All Defendants and DOES:1-30,:inclusive)
                 ,                                .
            4.                   SQ:          As a separate>and; distuiot;cause of action;;Plaintiff;.co..mpl;
                                ,
                                                                                                               airis and,re-alleges, all tli
            5 ; allegations contamed in this ;complaint,;.arid mcorpora
    -
                                                                        tes                 them by reference ;into this cause of
                                                          ,..
            6        ;actiori:as ;though fully setforth herein; excepting_thos  ,
                                                                               e:allegati"ons which;are iriconsistent"wo tli
                 1
                      cauw~of action.,
            g                   ,5.1..        Pursuant to Labor'Code §§. 226 and 432; 'an .einployer
                                                                                                  must,provide a euirent or"
'           g        former ,emp,loyee's entire personnel file, iucluding,
                                                                             but`:,not_liinited to; his/lier eriipl'oymerit'and`
          10         payroll:records, persoiiriel- records: and all jdocuments=signe
                                                                                      d by him/her..withm 2{1,:.calendar days
'         11:        from the::date ofthe request;.
,
                                                                  ..
                                              Pursuarit to I;abor Cod e §'119$ 5;:an'employe'r>mu5t prov
                                              ;
                                                                                                               'ide;a:currentor former
;         13            p_ ,y,ee' s entire,persorinel f1e withm 3Q:days;..and #hat:
                     em lo                                                    .
                                                                                    failu        re"to. comply:may resu' "lt im a$750;
         :14:        penalty, and gives rise t,o claims for'mjunctive relief and,
~
4
                                                                                  attor          neys'°fees:
                                                            -.
         15"                   53.       .;~is aheged aliove~,tDefendant failed to provide:any..:persqnriel
d
                                                                                                                  fle ,or payroll rec,ori
;        i6          to<Plaintiff:                                ~
                                                                            `
         1,7                   54.        Pl'aintiff therefore" seeks.'all applicable penalties, reasonabl
                                                                                                               e attorney's fees:and.
          l g        eosts..


         "19 ,;.                                                      RELIEF-REO.UESTED'
         20                    WHEREFOR:E, Plairitiff;prays for the;following:.
                          , 1..,         For compensatory :damagesa ineludmg Plamttff's lost inco
                                                                                                   me;.
                               2:.       For compensatory"damages for Plaintiff's emotional distr
                                                                                                  ess;
                                         For;punrtive;% exemplary;damages;,
                               4:.       For-reasonalile; attorney:fees,'cost~of suit; and"prejudgm
                                                                                                          ent and postJudgmerit
                                         :interest to,the~exterit peniutted"by law; 'i"ncluding purs
                                                                                                       uant'to, Civil.,Code ,§ 102`1,;5;,
                                         and -Govt' Co`de §§ .12~53`and 12965;:
                                          .
                               5;        For la.;declara.tory.,judgmerittliat,~Defendants`have viola
                                                                                                ,, ,                        _.
                                                                                                         tedGovt Code §§'12940 ;;
        ~.2s '~~,        ~r              ~and,,
            Case 5:22-cv-00244-SVK Document 1-1 Filed 01/13/22 Page 17 of 20



                  '6:     Such otner and furEher rel'ief as tHis Court may,deem
                    .
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                                                          Edward.Anfonino, Esq: "
                                                          Attorriey for PLA'INTIFF ,PAZ .CARINO
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                 I'laintiff hereby, demands a jwy trial ori a11 i"ssues so ariab
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                                                          Edward Aritomno; Esq".                           _.
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                                                          Attorney for PLAINTIFF PAZ`-CARINO"
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   EXHIBIT B
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